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FLN (Rev. 4/2004) Deficiency Order                                                  Page 1 of 1


                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF FLORIDA
                                     PENSACOLA DIVISION

UNITED STATES OF AMERICA

         vs                                      Case No. 3:92cr3008-007/LAC

REINALDO PEREIRA-POSO



                                           ORDER

Your document, Motion for Modification of an Imposed Term of Imprisonment
Pursuant 18 U.S.C. § 3582(c)(2) According New U.S.S. G. Commission Crack
Cocaine Retroactive Amendment, was referred to the undersigned with the following
deficiencies:

         The document does not have a Certificate of Service as required by Rule
         5(b) and (d) of the Federal Rules of Civil Procedure, showing proper
         service.

         The document does not have an original signature or proper electronic
         signature.

         The first page of the document does not have a bottom margin of at least
         two inches as required by N.D. Fla. Loc. R. 5.1(B)(3).

For these reasons, IT IS ORDERED that:


         The submitted hard copy of the document shall be returned by the Clerk without
         electronic filing. It may be resubmitted after the above noted deficiencies are
         corrected.


DONE and ORDERED this 7th day of January, 2008.



                                            s /L.A. Collier
                                            LACEY A. COLLIER
                                            SENIOR UNITED STATES DISTRICT JUDGE
